Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 1 of 17




                                                   1:18-cv-245-LG-RHW
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 2 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 3 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 4 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 5 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 6 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 7 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 8 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 9 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 10 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 11 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 12 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 13 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 14 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 15 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 16 of 17
Case 1:18-cv-00245-LG-RHW Document 1 Filed 07/24/18 Page 17 of 17
